

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,731






EX PARTE BRYAN RAY ROE, Applicant








ON APPLICATION FOR WRIT OF HABEAS CORPUS


CAUSE NO. W8426-1IN THE 355TH DISTRICT COURT


FROM HOOD COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writs of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of two
offenses of indecency with a child and sentenced to ten (10) years' imprisonment in each case. 
Applicant's appeals were dismissed for want of jurisdiction.  Roe v. State, Nos. 2-02-152-CR and 2-02-153-CR (Tex. App. - Fort Worth, June 27, 2002, no pets.) (not designated for publication).

	Applicant contends that he lost his right to appeal because counsel failed to timely file notices
of appeal.  We remanded these applications to the trial court to complete the record and enter
findings of fact and conclusions of law.

	The trial court has determined that Applicant lost his right to appeal.  We find, therefore, that
Applicant is entitled to the opportunity to file out-of-time appeals of the judgments of conviction in
Cause Nos. W8426-1 and W8459-1 from the 355th Judicial District Court of Hood County. 
Applicant is ordered returned to that time at which he may give written notices of appeal so that he
may then, with the aid of counsel, obtain meaningful appeals.  All time limits shall be calculated as
if the sentences had been imposed on the date on which the mandate of this Court issues.  We hold
that, should Applicant desire to prosecute appeals, he must take affirmative steps to file written
notices of appeal in the trial court within 30 days after the mandate of this Court issues.


Delivered: August 22, 2007

Do Not Publish


